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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-0810V
                                        (not to be published)


    BALBINA IBE,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: July 29, 2020


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Danielle Strait, Maglio Christopher & Toale, PA, Seattle, WA, for Petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On June 7, 2018, Balbina Ibe filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the “Vaccine
Act”). Petitioner alleges that she developed Guillain-Barré syndrome as a result of an
influenza vaccine administered on February 25, 2016. (Petition at 1, 3). On April 15, 2020,
a decision was issued awarding compensation to Petitioner based on the parties’
stipulation. (ECF No. 43).




1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated June 24,
2020 (ECF No. 50), requesting a total award of $31,016.54 (representing $29,921.40 in
fees and $1,095.14 in costs). In accordance with General Order #9, Petitioner filed a
signed statement indicating that out of pocket expenses of $18.39 were incurred. (ECF
No. 50-3). Respondent reacted to the motion on July 8, 2020 indicating that he is satisfied
that the statutory requirements for an award of attorney’s fees and costs are met in this
case and defers to the Court’s discretion to determine the amount to be awarded. (ECF
No. 51). On July 9, 2020, Petitioner filed a reply requesting the amount of fees and costs
be awarded in full. (ECF No. 52).

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

         The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e).

      Accordingly, petitioner is awarded the total amount of $31,034.93 3 as
follows:

            •   A lump sum of $31,016.54, representing reimbursement for attorneys’
                fees and costs, in the form of a check payable jointly to Petitioner and
                Petitioner’s counsel;

            •   A lump sum of $18.39, representing reimbursement for Petitioner’s
                costs, in the form of a check payable to Petitioner; and

            •   Petitioner requests checks be forwarded to Maglio Christopher &
                Toale, PA, 1605 Main Street, Suite 710, Sarasota, Florida, 34236.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4



3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs., 924
F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
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IT IS SO ORDERED.

                                        s/Brian H. Corcoran
                                        Brian H. Corcoran
                                        Chief Special Master




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